              USDC SDNY
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                                                      U.S. Department of Justice


              MEMO ENDORSED                           United States Attorney
                                                      Southern District of New York


                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew =s Plaza
                                                      New York, New York 10007


                                                      October 20, 2020

BY ECF

The Honorable Valerie E. Caproni
United States District Court Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Carmelo Velez, et al., 19 Cr. 862 (VEC)

Dear Judge Caproni:

        We write pursuant to the Court’s order of August 26, 2020, in which the Court scheduled
a status conference for November 10, 2020 and ordered the Government to submit a status report
by October 20, 2020. See dkt. no. 207. The Court requested that the Government propose in its
status report, if necessary, groupings of defendants to proceed at different times at either an in-
person conference or virtual hearing.

         As the Court knows, the November status conference had previously been scheduled with
the hope that, by November 10, the COVID-19 pandemic would have improved to an extent that
would allow defense counsel to meet with their clients in person, walk their clients through the
discovery, and discuss potential pretrial motions, trial strategy, or dispositions. In-person legal
visits continue to be limited at many of the prisons, however, and the defendants who have been
released on bail have been similarly limited by social-distancing guidelines. We understand that
defense counsel have been taking advantage of the options to meet with their clients virtually, but
the discovery in this case is voluminous, and the time available for virtual visits is limited. In
addition, some of the in-custody defendants have not been able to complete their review of the
discovery due to limitations on access to the law libraries that were imposed as part of the prisons’
efforts to mitigate the spread of the virus.

        Because the continuing COVID-19 pandemic has prevented the parties from making as
much progress as had been hoped, the parties jointly request that the status conference previously
scheduled for November 10 be adjourned for an additional 60 days. We are hopeful that during
this time the COVID-19 situation will improve to a point where the parties can advise the Court
of a realistic schedule for motions and trial. We also respectfully request that the Court exclude
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 time between today’s date and the date of the status conference pursuant to the Speedy Trial Act.
 Defense counsel have consented to this request.



                                             Respectfully submitted,


                                             AUDREY STRAUSS
                                             Acting United States Attorney



                                         By ___/s/____________________
                                            AUSA Adam S. Hobson
                                            AUSA Elinor Tarlow
                                            212-637-2484 / 1036

 cc:    Counsel of Record (by ECF)


The Court hereby grants an adjournment of 30 days. Counsel is reminded that if Defendants are
encountering difficulties accessing discovery in prison or while on home confinement, counsel
should promptly bring these issues and any proposed remedies to the attention of the Court.

The conference currently scheduled for November 10, 2020 is hereby adjourned to Thursday,
December 10, 2020, at 11:00 A.M. The Court has every intention to set a motion schedule and
possibly a trial date at this conference.

A further status report is due no later than Wednesday November 25, 2020. In that report,
counsel should propose, if necessary, groupings of defendants to proceed at different times, in
order to accommodate the logistics of either an in-person conference or a virtual hearing.

Given Defendants' interests in reviewing discovery, considering pretrial motions, and negotiating
potential dispositions, all of which have been delayed by the COVID-19 pandemic, the Court
finds that the ends of justice in accommodating those delays outweigh the Defendants' and the
public's interests in a speedy trial, and that exclusion of time between now and the next status
conference is warranted pursuant to 18 U.S.C. § 3161(h)(7).
 SO ORDERED.


                               Date: October 21, 2020
 HON. VALERIE CAPRONI
 UNITED STATES DISTRICT JUDGE
